

Matter of Sutton (2019 NY Slip Op 00518)





Matter of Sutton


2019 NY Slip Op 00518


Decided on January 24, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.




Decided and Entered: January 24, 2019
[*1]
In the Matter of CHARLES SOLOMON SUTTON, an Attorney. 
(Attorney Registration No. 5162045)

Calendar Date: January 22, 2019




Before: Lynch, J.P., Mulvey, Aarons, Rumsey and Pritzker, JJ.

Charles Solomon Sutton, St. Paul, Minnesota, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
	Charles Solomon Sutton was admitted to practice by this Court in 2013 and lists a business address in St. Paul, Minnesota with the Office of Court Administration. Sutton now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a])[FN1]. The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Sutton's application.
Upon reading Sutton's affidavit sworn to December 18, 2018 and filed January 7, 2019, and upon reading the January 11, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Sutton is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Mulvey, Aarons, Rumsey and Pritzker, JJ., concur.
ORDERED that Charles Solomon Sutton's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Charles Solomon Sutton's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Charles Solomon Sutton is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Sutton is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another [*2]an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Charles Solomon Sutton shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.



Footnotes

Footnote 1: Sutton's prior application for leave to resign was denied by this Court (155 AD3d 1301 [2017]).






